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UN|TED STATES OF AMER|CA w o r:=r»= "ti\;. r..#i§t!,terlis

P|aintiff

VS.
CR. NO. 04-20303-[)

CURT|S PETTIGREW

Defendant.

 

ORDER ON CONT|NUANCE AND SPECIFYlNG F’ERlOD OF EXC|_UDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Nlay 19, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

report date of Thursday, July 21, 2005l at 9:00 a.m., in Courtroom 3. 9th F|oor of the
Federa| Bui|ding, Memphis, TN.

 

The period from June 17, 2005 through August 12, 2005 is excludable under 18

U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time

to prepare outweigh the need fora speedy trial

|T lS SO ORDERED this §§ day of lVlay, 2005.

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Thls document entered on the docket sheet in compliance
with Fluie 55 and,lor 32(|:)) FHCrP on ’

 

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UNITED sATE ISTRICT COURT - WTERN DISTRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:04-CR-20303 Was distributed by faX, mail, or direct printing on
June 1, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

